                                               Case 2:21-cv-08930-DSF-PD Document 1 Filed 11/12/21 Page 1 of 9 Page ID #:1




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                                                         Hyundai Capital America
                                                    7

                                                    8                        UNITED STATES DISTRICT COURT
                                                    9                      CENTRAL DISTRICT OF CALIFORNIA
                                                    10

                                                    11    KATHERINE QUINN, on behalf of      Case No.:
                                                          herself and all others similarly
                                                    12    situated,                          [Removed from the Superior Court of
                 400 South Hope Street, 8th Floor




                                                                                             California, Los Angeles County, Case
Holland & Knight LLP

                    Los Angeles, CA 90071




                                                    13                 Plaintiff,            No. 21STCV37386]
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                                                    14    v.                                 DEFENDANT HYUNDAI
                                                                                             CAPITAL AMERICA'S NOTICE
                                                    15    HYUNDAI CAPITAL AMERICA,           OF REMOVAL OF CIVIL
                                                                                             ACTION TO FEDERAL COURT
                                                    16                  Defendant            PURSUANT TO 28 U.S.C. §§
                                                                                             1332(d), 1441, 1446 and 1453
                                                    17

                                                    18

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                                                                                    NOTICE OF REMOVAL
                                               Case 2:21-cv-08930-DSF-PD Document 1 Filed 11/12/21 Page 2 of 9 Page ID #:2




                                                    1    TO THE CLERK OF THE ABOVE-ENTITLED COURT AND TO
                                                    2    PLAINTIFF KATHERINE QUINN AND HER ATTORNEYS OF RECORD:
                                                    3          PLEASE TAKE NOTICE that defendant Hyundai Capital America ("HCA")
                                                    4    hereby removes the action styled Katherine Quinn et al. v. Hyundai Capital America,
                                                    5    Case No. 21STCV37386, now pending in the Superior Court for the State of California
                                                    6    in and for the County of Los Angeles (the "State Court Action"), to the United States
                                                    7    District Court for the Central District of California. Pursuant to 28 U.S.C. § 1332(d),
                                                    8    1441, 1446 and 1453, the Court may and should take jurisdiction over this action for
                                                    9    all purposes for the following reasons:
                                                    10                        I.     STATEMENT OF JURISDICTION
                                                    11         1.     HCA seeks removal of this class action under the Class Action Fairness
                                                    12   Act ("CAFA") codified at 28 U.S.C. § 1332(d), which provides this Court with
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                                                         original jurisdiction of this matter and permits HCA to remove this matter to federal
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                                                    14   Court. CAFA vests the district courts with original jurisdiction when the aggregate
                                                    15   amount in controversy for all putative class members exceeds $5 million (exclusive
                                                    16   of interests or costs) and when any member of the putative class of plaintiffs is a
                                                    17   citizen of a state different from any defendant. 28 U.S.C. § 1332(d)(2). A class
                                                    18   action against a non-government entity may be removed under CAFA if: (1) the
                                                    19   number of proposed class members is not less than 100; (2) any member of the
                                                    20   proposed plaintiff class is a citizen of a state different from any defendant; and (3) the
                                                    21   aggregate amount in controversy exceeds $5 million, excluding interest and costs. 28
                                                    22   USC § 1332(d), (d)(5) & 1453(b). As demonstrated below, this action meets all of
                                                    23   CAFA's removal requirements.
                                                    24                         II.    PROCEDURAL BACKGROUND
                                                    25         2.     Plaintiff Katherine Quinn ("Plaintiff") filed this purported class action
                                                    26   on October 12, 2021, alleging that HCA improperly failed to refund unearned fees
                                                    27   related to Guaranteed Asset Protection ("GAP") Waiver Addendums in breach of its
                                                    28   contracts with consumers and in violation of state statutory law. Complaint
                                                                                                   -2-
                                                                                        NOTICE OF REMOVAL
                                               Case 2:21-cv-08930-DSF-PD Document 1 Filed 11/12/21 Page 3 of 9 Page ID #:3




                                                    1    ("Compl.") ¶¶ 1-4. Plaintiff alleges that HCA "knowingly collects and retains
                                                    2    millions of dollars per year in unearned fees from automobile purchasers." Id. at ¶ 4.
                                                    3          3.     The putative nationwide class (the "Nationwide Class") is defined as:
                                                    4    "All persons who, during the applicable statute of limitations, entered into term
                                                    5    finance agreements with GAP Waiver Addendums that were assigned to Hyundai
                                                    6    Capital and who paid off their finance agreements before the end of the loan but did
                                                    7    not receive a refund of unearned GAP fees." Id. at ¶36.
                                                    8          4.     Plaintiff also asserts claims on behalf of a putative subclass of California
                                                    9    residents (the "California Subclass"), which is defined as: "All persons who, during
                                                    10   the applicable statute of limitations, entered into finance agreements in the State of
                                                    11   California with GAP Waiver Addendums that were assigned to Hyundai Capital and
                                                    12   who paid off their finance agreements before the end of the loan term but did not
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                                                         receive a refund of unearned GAP fees." Id. at ¶37.
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                                                    14         5.     The Complaint alleges four causes of action: (1) breach of contract
                                                    15   including breach of the covenant of good faith and fair dealing, (2) violation of
                                                    16   California Business and Professions Code § 17200 et seq. ("UCL"), (3) violation of
                                                    17   California Consumer Legal Remedies Act, California Civil Code § 1750, et seq.
                                                    18   ("CLRA") and, (4) unjust enrichment. Plaintiff seeks an award of restitution of all
                                                    19   alleged unearned and unrefunded GAP waiver fees, compensatory damages, punitive
                                                    20   damages, attorney's fees, and injunctive relief prohibiting the alleged practices set
                                                    21   forth in the Complaint. Id. at p. 15.
                                                    22                           III.   TIMELINESS OF REMOVAL
                                                    23         6.     The Summons and Complaint were served on HCA on October 14,
                                                    24   2021. Pursuant to 28 U.S.C. § 1446(b), this Notice of Removal has been filed within
                                                    25   30 days of that date.
                                                    26                                       IV.    VENUE
                                                    27         7.     Venue lies in the United States District Court for the Central District of
                                                    28   California, pursuant to 28 U.S.C. §§ 84(c)(3), 1441, and 1446(a). This action was
                                                                                                   -3-
                                                                                        NOTICE OF REMOVAL
                                               Case 2:21-cv-08930-DSF-PD Document 1 Filed 11/12/21 Page 4 of 9 Page ID #:4




                                                    1    originally brought in Los Angeles County Superior Court, which is located within the
                                                    2    Central District of California. Venue is proper with this Court because it is the
                                                    3    "district and division embracing the place where such action is pending." 28 U.S.C. §
                                                    4    1441(a).
                                                    5                           V.     JURISDICTION UNDER CAFA
                                                    6          8.      Section 4 of CAFA sets forth the general rule that "[t]he district courts
                                                    7    shall have original jurisdiction of any civil action in which the matter in controversy
                                                    8    exceeds the sum or value of $5,000,000, exclusive of interest and costs, and is a class
                                                    9    action in which … any member of a class of plaintiffs is a citizen of a State different
                                                    10   from any defendant." 28 U.S.C. § 1332(d)(2).
                                                    11         9.      Section 4 of CAFA further states that the jurisdictional rule set forth in
                                                    12   28 U.S.C. §1332(d)(2) applies only to a class action in which the number of members
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                                                         of all proposed plaintiff classes, in the aggregate, is 100 or more. 28 U.S.C. §
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                                                    14   1332(d)(5).
                                                    15         10.     This Court has jurisdiction over this action pursuant to CAFA, 28 U.S.C.
                                                    16   § 1332(d), and this action may be removed by HCA pursuant to the provisions of 28
                                                    17   U.S.C. § 1441(a), because the putative plaintiff classes consists of at least 100
                                                    18   members, the total amount in controversy exceeds $5,000,000, and there is diversity
                                                    19   between at least one proposed class member and HCA.
                                                    20   A.    This Is A Class Action
                                                    21         11.     CAFA defines a "class action" for the purposes of jurisdiction as any
                                                    22   civil action filed under rule 23 of the Federal Rules of Civil Procedure or similar
                                                    23   State statute or rule of judicial procedure authorizing an action to be brought by 1 or
                                                    24   more representative persons as a class action.
                                                    25         12.     Plaintiff filed this action in the Los Angeles Superior Court on behalf of
                                                    26   herself and the putative Nationwide Class and California Subclass (the "Class").
                                                    27   Comp. ¶¶ 36, 37. Plaintiff alleges that the proposed Class likely contains "thousands"
                                                    28   of members. Compl. ¶ 41. California Code of Civil Procedure § 382 is the
                                                                                                   -4-
                                                                                        NOTICE OF REMOVAL
                                               Case 2:21-cv-08930-DSF-PD Document 1 Filed 11/12/21 Page 5 of 9 Page ID #:5




                                                    1    California state statute governing class actions and is similar to Rule 23. Plaintiff's
                                                    2    claim is therefore a "class action" as defined by CAFA.
                                                    3    B.     The Number Of Purported Class Members Exceeds 100
                                                    4           13.    Plaintiff purports to represent a putative class of all persons who, during
                                                    5    the applicable statute of limitations, entered into term finance agreements with GAP
                                                    6    Waiver Addendums that were assigned to Hyundai Capital and who paid off their
                                                    7    finance agreements before the end of the loan but did not receive a refund of
                                                    8    unearned GAP fees. Compl. ¶ 36.
                                                    9           14.    Further, Plaintiff purports to represent a class of persons who entered
                                                    10   into finance agreements in the State of California with GAP Waiver Addendums that
                                                    11   were assigned to Hyundai Capital and who paid off their finance agreements before
                                                    12   the end of the loan term but did not receive a refund of unearned GAP fees. Id. at ¶
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                                                         37.
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                                                    14          15.    Plaintiff alleges that the proposed class likely contains "thousands of
                                                    15   members." Id. at ¶ 41.
                                                    16          16.    Therefore, CAFA's minimum putative class size of 100 members is
                                                    17   satisfied.
                                                    18   C.     There Is Diversity Of Citizenship Between HCA And At Least One
                                                    19          Purported Class Member
                                                    20          17.    In order to satisfy the diversity requirement, CAFA only requires that
                                                    21   "any member of the proposed plaintiff class is a citizen of a state different from any
                                                    22   defendant." 28 USC §1332(d)(2)(A).
                                                    23          18.    HCA is a California corporation, with its principal place of business in
                                                    24   Irvine, California. Comp. ¶ 8.
                                                    25          19.    Plaintiff filed this action on behalf of a purported "Nationwide Class."
                                                    26   Comp. ¶ 37.
                                                    27

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                                                                                        NOTICE OF REMOVAL
                                               Case 2:21-cv-08930-DSF-PD Document 1 Filed 11/12/21 Page 6 of 9 Page ID #:6




                                                    1          20.      Because HCA is a citizen of California, and the purported class
                                                    2    members include plaintiffs from states other than California, CAFA's diversity of
                                                    3    citizenship requirement is satisfied.
                                                    4    D.    The Amount In Controversy Exceeds $5 Million
                                                    5          21.      Congress intended federal jurisdiction to exist under CAFA "if the value
                                                    6    of the matter in litigation exceeds $5,000,000 either from the viewpoint of the
                                                    7    plaintiff or the viewpoint of the defendant, and regardless of the type of relief sought
                                                    8    (e.g., damages, injunctive relief, or declaratory relief)." Staff of S. Comm. on the
                                                    9    Judiciary, 109th Cong., Rep. on The Class Action Fairness Act of 2005, 42 (Comm.
                                                    10   Print 2005).
                                                    11         22.      "In determining the amount in controversy, courts first look to the
                                                    12   complaint." Ibarra v. Manheim Invs., Inc., 775 F.3d 1193, 1197 (9th Cir. 2015).
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                                                         Generally, "the sum claimed by the plaintiff controls if the claim is apparently made
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                                                    14   in good faith." Id. (quoting St. Paul Mercury Indem. Co. v. Red Cab Co., 303 U.S.
                                                    15   283, 289 (1938).
                                                    16         23.      Assuming the allegations in the Complaint are true (which HCA denies),
                                                    17   the aggregate amount in controversy, exclusive of interest and costs, exceeds $5
                                                    18   million as required by CAFA. 28 U.S.C § 1332(d)(2), (d)(6).
                                                    19         24.      Plaintiff seeks an order awarding Plaintiff and each member of the class
                                                    20   statutory damages, punitive damages per each violation, restitution of all monies
                                                    21   paid, and attorney fees. Comp. at p. 15. Plaintiff also seeks an injunction prohibiting
                                                    22   HCA from continuing to allegedly retain unearned GAP insurance premiums on a
                                                    23   going forward basis.
                                                    24         25.      Plaintiff alleges that HCA "knowingly collects and retains millions of
                                                    25   dollars per year in unearned fees from automobile purchasers." Id. at ¶ 4.
                                                    26         26.      Plaintiff asserts a breach of contract cause of action, which has a four-
                                                    27   year statute of limitations. Cal. Code Civ. P. § 337.
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                                                                                         NOTICE OF REMOVAL
                                               Case 2:21-cv-08930-DSF-PD Document 1 Filed 11/12/21 Page 7 of 9 Page ID #:7




                                                    1          27.    Thus, according to the Complaint, the amount in unearned fees that
                                                    2    HCA purportedly retained in the last four years is at least $8,000,000 ($2 million per
                                                    3    year over four years). This satisfies the amount in controversy requirement under the
                                                    4    CAFA.
                                                    5          28.    Moreover, Plaintiff seeks punitive damages. Compl. at p. 15. "In
                                                    6    general, courts have applied a 1:1 multiplier to the economic damages to punitive
                                                    7    damages to determine the amount of damages at issue under CAFA." Calagno v. Rite
                                                    8    Aid Corp., No. 4:20-CV-05476-YGR, 2020 WL 6700451, at *4 (N.D. Cal. Nov. 13,
                                                    9    2020); Greene v. Harley-Davidson, Inc., 965 F.3d 767, 772 (9th Cir. 2020)
                                                    10   (concluding that a 1:1 multiplier for punitive damages under the CLRA was
                                                    11   reasonable). Applying a 1:1 multiplier here, the amount in purported punitive
                                                    12   damages would be $8 million. Together with economic damages, this brings the total
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                                                         amount in purported damages to $16 million.
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                                                    14         29.    In addition, for purposes of calculating the amount in controversy, courts
                                                    15   in the Ninth Circuit estimate future fees as 25% to 33% of the award the class seeks.
                                                    16   See Galt G/S v. JSS Scandinavia, 142 F.3d 1150, 1156 (9th Cir. 1998) (holding that
                                                    17   attorneys' fees may be included when calculating the amount in controversy).
                                                    18   Adding 25% to the purported $16 million Plaintiff seeks brings the total amount
                                                    19   (allegedly) in controversy to $20 million.1
                                                    20         30.    Accordingly, the amount in controversy is satisfied even without taking
                                                    21   into account the purported impact of an injunction that prohibits HCA from allegedly
                                                    22   "collect[ing] and retain[ing] millions of dollars per year in unearned fees from
                                                    23   automobile purchasers" on a going-forward basis. Id. at ¶ 4.
                                                    24

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                                                    27   1
                                                           Even if Plaintiff's allegation that HCA retains "millions of dollars per year" is
                                                         awkwardly interpreted as singular, i.e., at least $1 million per year (rather than at
                                                    28   least $2 million per year), the amount in controversy is still satisfied ($1 million X 4
                                                         years X 2 for alleged punitive damages + 25% for fees = $10 million).
                                                                                                   -7-
                                                                                          NOTICE OF REMOVAL
                                               Case 2:21-cv-08930-DSF-PD Document 1 Filed 11/12/21 Page 8 of 9 Page ID #:8




                                                    1                    VI.   JOINDER OF ALL SERVED DEFENDANTS
                                                    2          31.     Because HCA is the only named Defendant, there is no requirement that
                                                    3    other defendants join in this notice of removal.
                                                    4                            VII. STATE COURT PLEADINGS
                                                    5          32.     Attached as Exhibit 1 are true and correct copies of all of the process,
                                                    6    pleadings and orders in the State Court action served on HCA.
                                                    7        VIII. NOTICE TO STATE COURT AND PLAINTIFF OF REMOVAL
                                                    8          33.     In accordance with 28 U.S.C. § 1446(d), the undersigned counsel
                                                    9    certifies that a copy of this Notice of Removal and all supporting papers will be
                                                    10   promptly served on Plaintiff's counsel and filed with the Clerk for the Superior court
                                                    11   of the State of California in and for the County of Los Angeles.
                                                    12         WHEREFORE, for all of the foregoing reasons, HCA hereby removes the
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                                                         State Court Action now pending in the Superior Court of the State of California,
                    Los Angeles, CA 90071




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                                                    14   County of Los Angeles, to the United States District Court for the Central District of
                                                    15   California.
                                                    16

                                                    17   DATED: November 12, 2021                HOLLAND & KNIGHT LLP
                                                    18

                                                    19
                                                                                                 By: /s/ Zachary C. Frampton
                                                    20                                                 Abraham J. Colman
                                                                                                       Zachary C. Frampton
                                                    21                                           Attorneys for Defendant
                                                                                                 Hyundai Capital America
                                                    22

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                                                                                        NOTICE OF REMOVAL
                                          Case 2:21-cv-08930-DSF-PD Document 1 Filed 11/12/21 Page 9 of 9 Page ID #:9




                                               1                                   PROOF OF SERVICE
                                               2          I, Zachary C. Frampton, declare as follows:
                                               3          I am employed in the County of Los Angeles, State of California, I am over the
                                                    age of eighteen years and am not a party to this action; my business address is 400
                                               4    South Hope Street, 8th Floor, Los Angeles, CA 90071, in said County and State.
                                               5          On November 12, 2021, I served the following document(s):
                                               6          NOTICE OF REMOVAL
                                               7
                                                    on the parties stated below, by the following means of service:
                                               8

                                               9
                                                           EDELSBERG LAW, P.A.                           KALIELGOLD PLLC
                                                      Scott Edelsberg (CA Bar No. 330090)        Jeffrey D. Kaliel (CA Bar No. 238293)
                                               10           scott@edelsberglaw.com                       jkaliel@kalielpllc.com
                                               11
                                                       1925 Century Park East, Suite 1700             1100 15th Street NW, 4th Floor
                                                             Los Angeles, CA 90067                       Washington, DC 20005
                                               12              Tel.: 305.975.3320                      Telephone: (202) 305-4783
                 524 Grand Regency Boulevard




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                      Brandon, FL 33510

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                                               14           KALIELGOLD PLLC
                                                      Sophia G. Gold (CA Bar No. 307971
                                               15            sgold@kalielgold.com
                                                         950 Gilman Street, Suite 200
                                               16             Berkeley, CA 94710
                                                          Telephone: (202) 350-4783
                                               17
                                                      BY ELECTRONIC SERVICE: On the above-mentioned date, based on a
                                               18    court order or an agreement of the parties to accept service by electronic
                                                     transmission, I caused the documents to be sent to the persons at the electronic
                                               19    notification addresses as shown above.
                                               20
                                                      By MAIL. I am readily familiar with this law firm's practice for collection and
                                               21    processing of documents for mailing with the U. S. Postal Service. The above-
                                                     listed document(s) will be deposited with the U. S. Postal Service on the same day
                                               22    shown on this affidavit, in the ordinary course of business. I am the person who
                                                     sealed and placed for collection and mailing the above-listed document(s) on this
                                               23    date at Irvine, California, following ordinary business practices.
                                               24     (FEDERAL) I declare under penalty of perjury that the foregoing is true and
                                                                 correct.
                                               25

                                               26         Executed on November 12, 2021.
                                               27
                                                                                           /s/ Zachary C. Frampton
                                               28                                                    Zachary C. Frampton

                                                                                  NOTICE OF REMOVAL
